                                          Case 19-16598                   Doc 15       Filed 06/27/19             Page 1 of 5
 Fill in this information to identify your case:

 Debtor 1                 Denise S. Shaffer
                          First Name                        Middle Name                 Last Name

 Debtor 2                 Daniel J. Shaffer
 (Spouse if, filing)      First Name                        Middle Name                 Last Name


 United States Bankruptcy Court for the:              DISTRICT OF MARYLAND

 Case number           19-16598
 (if known)
                                                                                                                                          Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      7314 Parkview Drive Frederick, MD                              $205,000.00                                      $0.00    Md. Code Ann., Cts. & Jud.
      21702 Frederick County                                                                                                   Proc. § 11-504(f)(1)(i)(2)
      Line from Schedule A/B: 1.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

      2019 Honda HR-V 6000 miles                                      $15,500.00                                 $2,400.31     Md. Code Ann., Cts. & Jud.
      Line from Schedule A/B: 3.1                                                                                              Proc. § 11-504(f)(1)(i)(1)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      4 beds, 2 dressers, 9 indoor chairs, 7                           $1,089.40                                 $1,089.40     Md. Code Ann., Cts. & Jud.
      outdoor chairs, 4 table lamps, 2                                                                                         Proc. § 11-504(b)(4)
      standing lamps, 2 sofas, 2 coffee                                                    100% of fair market value, up to
      tables, 3 end tables, 1 kitchen table, 1                                             any applicable statutory limit
      outdoor table, 2 phones, 1 A/C, 1
      clock, 1 dryer, 1 washer, 1
      refrigerator, 1 stove, 1 vacuum
      cleaner, 1 was
      Line from Schedule A/B: 6.1

      1 portable radio, 3 televisions, and 1                              $230.00                                  $230.00     Md. Code Ann., Cts. & Jud.
      DVD player                                                                                                               Proc. § 11-504(b)(4)
      Line from Schedule A/B: 7.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 3
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 Debtor 1    Denise S. Shaffer
 Debtor 2    Daniel J. Shaffer                                                                           Case number (if known)     19-16598
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     240 comic books                                                      $60.00                                    $60.00        Md. Code Ann., Cts. & Jud.
     Line from Schedule A/B: 8.1                                                                                                  Proc. § 11-504(b)(5)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     2 belts, 4 pairs of boots, 6                                        $151.00                                   $151.00        Md. Code Ann., Cts. & Jud.
     coats/jackets, 9 dresses, 2 eyewear,                                                                                         Proc. § 11-504(b)(4)
     4 hats, 4 pajamas, 12 pants, 20 shirts,                                               100% of fair market value, up to
     8 shorts, 2 skirts, 1 suit, 8 sweaters,                                               any applicable statutory limit
     2 swimsuits, 10 ties/scarves, 1
     umbrella, 10 pairs of shoes
     Line from Schedule A/B: 11.1

     8 bracelets, 10 pairs of earrings, 10                            $1,124.00                                    $529.60        Md. Code Ann., Cts. & Jud.
     necklaces, 8 pendants, 9 rings                                                                                               Proc. § 11-504(b)(4)
     Line from Schedule A/B: 12.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     8 bracelets, 10 pairs of earrings, 10                            $1,124.00                                    $594.40        Md. Code Ann., Cts. & Jud.
     necklaces, 8 pendants, 9 rings                                                                                               Proc. § 11-504(f)(1)(i)(1)
     Line from Schedule A/B: 12.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Savings: BB&T Bank                                               $2,500.14                                  $2,500.14        Md. Code Ann., Cts. & Jud.
     Line from Schedule A/B: 17.1                                                                                                 Proc. § 11-504(f)(1)(i)(1)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking: BB&T Bank                                                 $346.71                                   $346.71        Md. Code Ann., Cts. & Jud.
     Line from Schedule A/B: 17.2                                                                                                 Proc. § 11-504(f)(1)(i)(1)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     RLJ Entertainment                                                $1,927.63                                  $1,927.63        Md. Code Ann., Cts. & Jud.
     Line from Schedule A/B: 18.1                                                                                                 Proc. § 11-504(f)(1)(i)(1)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     401(k): Suntrust Bank                                           $13,988.44                                $13,988.44         Md. Code Ann., Cts. & Jud.
     Line from Schedule A/B: 21.1                                                                                                 Proc. § 11-504(h)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Prudential Insurance                                             $6,881.38                                  $6,881.38        Md. Code Ann., Cts. & Jud.
     Beneficiary: Denise Shaffer                                                                                                  Proc. § 11-504(b)(5)
     Line from Schedule A/B: 31.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Prudential Insurance                                             $7,289.43                                  $5,058.62        Md. Code Ann., Cts. & Jud.
     Beneficiary: Dan Shaffer                                                                                                     Proc. § 11-504(b)(5)
     Line from Schedule A/B: 31.2                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Prudential Insurance                                             $7,289.43                                  $2,230.81        Md. Code Ann., Cts. & Jud.
     Beneficiary: Dan Shaffer                                                                                                     Proc. § 11-504(f)(1)(i)(1)
     Line from Schedule A/B: 31.2                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit



Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 3
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 Debtor 1    Denise S. Shaffer
 Debtor 2    Daniel J. Shaffer                                                                 Case number (if known)     19-16598
 3. Are you claiming a homestead exemption of more than $170,350?
    (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                       page 3 of 3
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 Fill in this information to identify your case:

 Debtor 1                     Denise S. Shaffer
                              First Name                    Middle Name               Last Name

 Debtor 2                     Daniel J. Shaffer
 (Spouse if, filing)          First Name                    Middle Name               Last Name


 United States Bankruptcy Court for the:              DISTRICT OF MARYLAND

 Case number            19-16598
 (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                    12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?



    Creditor's         Ally                                                  Surrender the property.                            No
    name:                                                                    Retain the property and redeem it.
                                                                             Retain the property and enter into a               Yes
    Description of        2019 Honda HR-V 6000 miles                         Reaffirmation Agreement.
    property                                                                 Retain the property and [explain]:
    securing debt:                                                          Continue to make regular monthly
                                                                           payments


    Creditor's         OAS FCU                                               Surrender the property.                            No
    name:                                                                    Retain the property and redeem it.
                                                                             Retain the property and enter into a               Yes
    Description of        7314 Parkview Drive Frederick,                     Reaffirmation Agreement.
    property              MD 21702 Frederick County                          Retain the property and [explain]:
    securing debt:



    Creditor's         Specialized Loan Servicing, LLC                       Surrender the property.                            No
    name:                                                                    Retain the property and redeem it.
                                                                             Retain the property and enter into a               Yes
    Description of        7314 Parkview Drive Frederick,                     Reaffirmation Agreement.


Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                  page 1

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 Debtor 1      Denise S. Shaffer
 Debtor 2      Daniel J. Shaffer                                                                      Case number (if known)    19-16598

     property           MD 21702 Frederick County                           Retain the property and [explain]:
     securing debt:

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                              Will the lease be assumed?

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ Denise S. Shaffer                                                        X /s/ Daniel J. Shaffer
       Denise S. Shaffer                                                                Daniel J. Shaffer
       Signature of Debtor 1                                                            Signature of Debtor 2

       Date        June 27, 2019                                                    Date     June 27, 2019




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                      page 2

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